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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


TIMOTHY MILES, on behalf of himself and           )
all others similarly situated,                    )
                                                  )
               Plaintiff,                         )   No. 4:20-CV-01186 JAR
                                                  )
       v.                                         )
                                                  )
MEDICREDIT, INC.,                                 )
                                                  )
               Defendant.                         )

                  CASE MANAGEMENT ORDER:TRACK 3 (COMPLEX)

       This matter is before the Court on the parties’ Joint Proposed Scheduling Plan. (Doc. No.

37). The parties disagree on whether discovery should be conducted in phases or limited to

certain issues and have, therefore, submitted their respective proposals on how discovery should

proceed. Based on the facts alleged in the complaint, and the unique circumstances of this case,

the Court will grant Defendant’s request for phased discovery. Within ten (10) days of the date

of this order, the parties shall meet and confer and submit their agreed upon dates for expert

disclosures to the Court. If the parties cannot come to an agreement, they shall submit their

respective proposals to the Court for its consideration.

       Accordingly,

       IT IS HEREBY ORDERED that the following schedule shall apply in this case, and

will be modified only upon a showing of exceptional circumstances:

       I.      SCHEDULING PLAN

       1.      This case has been assigned to Track 3 (Complex).
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           2.    All motions for joinder of additional parties or amendment of pleadings shall be

filed no later than July 16, 2021.

           3.    Discovery on the issue of Plaintiff’s individual claim shall proceed in the

following manner:

                 (a)    The parties shall make all disclosures required by Rule 26(a)(1), Fed. R.

Civ. P., no later than May 14, 2021.

                 (b)    The presumptive limits of ten (10) depositions and twenty-five (25)

interrogatories per party as set forth in Rule 33(a), Fed. R. Civ. P., shall apply.

                 (c)    Requests for physical or mental examinations of parties pursuant to Rule

35, Fed. R. Civ. P. are not anticipated.

                 (d)    The parties shall complete discovery on the merits of Plaintiff’s individual

claims no later than November 15, 2021.

                 (e)    Motions to compel shall be pursued in a diligent and timely manner.

           4.    This case will not be referred to alternative dispute resolution at this time.

           5.    Any dispositive motion on Plaintiff’s individual claim must be filed no later than

January 14, 2022. Any response shall be filed no later than February 14, 2022. Any reply shall

be filed no later than February 28, 2022.

           IT IS FURTHER ORDERED that following the Court’s ruling on dispositive motions,

another conference with counsel will be set to discuss remaining class-wide discovery on any

outstanding issues; a briefing schedule on Plaintiff’s motion for class certification; and a trial

setting.



Dated this 4th day of May, 2021.

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                                       __________________________________
                                       JOHN A. ROSS
                                       UNITED STATES DISTRICT JUDGE




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